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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------ X
                                      :
 UNITED STATES OF AMERICA,            :
                                      :
                -v-                   :                 15cr42 (DLC)
                                      :
 SIMEON FRITH,                        :                     Order
                                      :
                        Defendant.    :
                                      :
 ------------------------------------ X

DENISE COTE, District Judge:

     Simeon Frith entered a plea of guilty on May 22, 2020.           On

August 7, this Court sentenced Frith principally to 84 months’

imprisonment.   Frith is 27 years old.      The Bureau of Prisons

(“BOP”) projects that he will be released in December 2020.

Frith is being held at the Metropolitan Detention Facility

(“MDC”) and will remain there in solitary confinement for the

remainder of his sentence.

     On August 28, Frith made a request of the warden of MDC for

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A).           As

of the date of this Order, the warden has not responded to

Frith’s request.   October 19, Frith moved this Court for

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A).

The Government opposes Frith’s request.

     Once a petitioner fulfills the statutory exhaustion

requirement, the Court may reduce the petitioner’s sentence, if

after consideration of the factors set forth in 18 U.S.C. §
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3553(a), it finds that “extraordinary and compelling reasons”

warrant such a reduction.     18 U.S.C. § 3582(c)(1)(A)(i).       As the

Court of Appeals for the Second Circuit has explained, in the

wake of the First Step Act of 2018, Pub. L. 115-391, 132 Stat.

5194, district courts are tasked with “independently . . .

determin[ing] what reasons, for purposes of compassionate

release, are extraordinary and compelling.”        United States v.

Brooker, 2020 WL 5739712, at *5, --- F.3d ---- (2d Cir. Sept.

25, 2020) (citation omitted).

     As set forth in § 3582, a petitioner fulfills the statutory

exhaustion requirement if, inter alia, thirty days have elapsed

since he requested compassionate release of the warden of his

facility.   Frith has therefore exhausted his administrative

remedies.

     Frith’s petition is denied on the merits.        Frith has not

demonstrated that there are extraordinary and compelling reasons

that justify a reduction of sentence or that the § 3553(a)

factors counsel in favor of such a reduction.

     Sentence was imposed just a few weeks ago.        Frith engaged

in violent crimes and the Court determined that his requested

sentence of time-served would not be appropriate.         The Court was

aware at the time of the sentence that the pandemic and the

other circumstances discussed at sentencing would have a



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significant impact on the conditions of his confinement.

Accordingly, it is hereby

     ORDERED that the October 19 motion pursuant to 18 U.S.C. §

3582(c)(1)(A) is denied.

     SO ORDERED:

Dated:      New York, New York
            October 20, 2020


                                            __________________________
                                                    DENISE COTE
                                           United States District Judge




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